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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter _____

                                                                                                                                           Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                             Chapter 7
                                             Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Alltex Refinery LLC
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification               Unknown
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                        301 North Main Plaza
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                        Suite 334
                                       _________________________________________________
                                                                                                      _________________________________________________
                                                                                                      P.O. Box

                                        New Braunfels
                                       ______________________________        Tx       78130
                                                                            _______ _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                        Comal
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


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Debtor         _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        _____________________________________________________________________________________________________



                                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
7.    Type of debtor
                                         Partnership (excluding LLP)
                                         Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the types of business listed.
                                       Unknown type of business.


9.    To the best of your                No
      knowledge, are any
      bankruptcy cases                   Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                       Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                       business, or principal assets in this district longer than in any other district.

                                       A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.


11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                       The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                       fide dispute as to liability or amount.

                                       Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                       agent appointed or authorized to take charge of less than substantially all of the property of the
                                       debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a                 No
      transfer of any claim
      against the debtor by or         Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?               Rule 1003(a).


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Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                    Nature of petitioner’s claim              Amount of the claim
                                                                                                                                                  above the value of
                                                                                                                                                  any lien

                                                   Notre Dame Investors
                                                  ______________________________________                   loan  (unsecured)
                                                                                                        _________________________________           $70,520.18
                                                                                                                                                  $ ________________

                                                   Lessley Services LLC
                                                  ______________________________________
                                                                                                           transportation services
                                                                                                        _________________________________
                                                                                                                                                     $13,638.30
                                                                                                                                                  $ ________________

                                                    CTO Investments, Inc.
                                                  ______________________________________                   loan (unsecured)
                                                                                                        _________________________________           $80,864.00
                                                                                                                                                  $ ________________

                                                                                                              Total of petitioners’ claims          $165,022.48
                                                                                                                                                  $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                             Attorneys


      Name and mailing address of petitioner

      Notre Dame Investors, Inc.                                                              James B. Jameson
                                                                                             ________________________________________________________________
      ______________________________________________________________
      Name                                                                                   Printed name

                                                                                              Jameson & Associates, PC
      PO Box 980518
      ______________________________________________________________
                                                                                             ________________________________________________________________
                                                                                             Firm name, if any
      Number Street

      Houston                                       Tx                  77098                 PO Box 980575
                                                                                             ________________________________________________________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code                              Number Street

                                                                                              Houston                                  TX             77098
                                                                                             _________________________________ ______________ _____________
                                                                                             City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      Mr. James Hill, President
      ______________________________________________________________                         Contact phone    _________________ Email ___________________________
      Name

      Same as above
      ______________________________________________________________                         Bar number      ___________________________________________________
      Number Street

      _________________________________ ______________ _____________                         State           _________________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                      09/30/2021
      Executed on _________________
                  MM / DD / YYYY                                                              ________________________________________________________________
                                                                                             Signature of attorney
                                                         President
      ______________________________________________________________
      Signature of petitioner or representative, including representative’s title            Date signed      _________________
                                                                                                              MM / DD / YYYY



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Debtor         _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner
     Lessley Services LLC                                                                 ________________________________________________________________
   ______________________________________________________________
   Name                                                                                   Printed name


    2805 S. Hwy 42 North
   ______________________________________________________________
                                                                                          ________________________________________________________________
                                                                                          Firm name, if any
   Number Street

    Kilgore                                      Texas
   _________________________________ ______________ _____________    75662                ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any

    Vivian Green-Lessley, Vice President
   ______________________________________________________________
                                                                                          Contact phone    _________________ Email ___________________________

   Name

    Same as above
   ______________________________________________________________
                                                                                          Bar number      ___________________________________________________

   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________                                                           ________________________________________________________________
               MM / DD / YYYY                                                             Signature of attorney


    ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

    CTO Investments, Inc.
   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name


    5404 Holly  Type text here
   ______________________________________________________________
                                                                                          ________________________________________________________________
                                                                                          Firm name, if any
   Number Street

    Bellaire                                     TX
   _________________________________ ______________ _____________    77402                ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any

    Mr. Roland Oberlin, President
   ______________________________________________________________
                                                                                          Contact phone    _________________ Email ___________________________

   Name

    Same as above
   ______________________________________________________________
                                                                                          Bar number      ___________________________________________________

   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________                                                           ________________________________________________________________
               MM / DD / YYYY                                                             Signature of attorney


    ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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